

Village of Arkport v Mauro (2018 NY Slip Op 07560)





Village of Arkport v Mauro


2018 NY Slip Op 07560


Decided on November 9, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 9, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., SMITH, DEJOSEPH, TROUTMAN, AND WINSLOW, JJ.


955.1 CA 18-00625

[*1]VILLAGE OF ARKPORT, PLAINTIFF-RESPONDENT,
vROBERT MAURO, DEFENDANT-APPELLANT. (APPEAL NO. 2.) 






REEVE BROWN PLLC, ROCHESTER (GUY A. TALIA OF COUNSEL), FOR DEFENDANT-APPELLANT.
VOGEL LAW OFFICE, P.C., DANSVILLE (JOHN W. VOGEL OF COUNSEL), FOR PLAINTIFF-RESPONDENT. 


	Appeal from a judgment of the Supreme Court, Steuben County (Marianne Furfure, A.J.), entered November 17, 2016. The judgment awarded plaintiff money damages as against defendant Robert Mauro. 
Now, upon reading and filing the stipulation of discontinuance signed by the attorneys for the parties on September 28, 2018,
It is hereby ORDERED that said appeal is unanimously dismissed without costs upon stipulation.
Entered: November 9, 2018
Mark W. Bennett
Clerk of the Court 








